Case 9:21-cv-81565-DMM Document 156 Entered on FLSD Docket 08/17/2022 Page 1 of 5




                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                         West Palm Beach Division

                                         CASE NO.: 9:21-cv-81565-DMM

       WILLIAM DAVID WILCOX, JR., a/k/a DAVID WILCOX, an
       individual, and MEGAN DANIELLE LUCHEY, an individual,

         Plaintiffs,
       v.
       LA PENSEE CONDOMINIUM ASSOCIATION, INC., a Florida
       Not-For-Profit Corporation, MARY McFADDEN, an individual,
       MAC RESIDENTIAL SERVICES, LLC, a Florida Limited Liability
       Company, and DAVID WOLFF a/k/a DAVID WOLF, an individual,

          Defendants.
       ___________________________________/

                 DEFENDANT LA PENSEE CONDOMINIUM ASSOCIATION, INC.’S
                 STATEMENT OF MATERIAL, UNDISPUTED FACTS IN SUPPORT
                       OF MOTION FOR FINAL SUMMARY JUDGMENT

            COMES NOW, Defendant, LA PENSEE CONDOMINIUM ASSOCIATION, INC. (the

   “Association” and/or “La Pensee”), by and through his undersigned counsel, and pursuant to Local

   Rule 56.1, hereby files it Statement of Facts in Support of Motion for Final Summary Judgment

   against the First Amended Complaint [D.E. 153].

            1.         On or about January 25, 2021, Wilcox commenced his tenancy in Unit 303 at La

                       Pensee located at 4000 South Ocean Boulevard, South Palm Beach, FL 33480.

                       See Exhibit “A” August 8, 2022 Deposition of William Wilcox, Jr 24:12-18.1

            2.         La Pensee 303, LLC is the landlord and owner of Unit 303. See Exhibit “B” April

                       26, 2022 Deposition of Valerie Manzo 9:2-15.




   1The Association is filing only the relevant excerpts of deposition testimony and relying on the Notice of Filing
   Supportive Evidence being contemporaneously filed by Co-Defendants, Mary McFadden and MAC Residential
   Management Services, LLC, for the transcripts in their entirety to avoid duplicative filings.


                                                       Page 1 of 5
Case 9:21-cv-81565-DMM Document 156 Entered on FLSD Docket 08/17/2022 Page 2 of 5




        3.    Former Plaintiff Megan Luchey claimed that on or about February 10, 2021, as she

              was getting off the elevator in the building, board member, David Wolf, stood in

              front of the elevator and called Luchey the “N” word. See Exhibit “C” May 4, 2022

              Deposition of Megan Luchey 146:17-147:3.

        4.    Wolf denies such claims and accusations and has from the beginning of this

              lawsuit. [D.E. 136]

        5.    During Wilcox’s recent August 8, 2022, deposition, he testified:

                 Q: So your position here is that the association acted against you because you
                 had a service animal by the name of Zeus and Ms. Luchey was African
                 American correct—or is African American?
                 A: She asserted—she asserted her claim; I asserted my claim, correct.
                 Q: So your claim is that they tried to remove Zeus, your service dog; that’s
                 your claim?
                 A: Correct.
                 Q: Okay. And Ms. Luchey’s claim is that they retaliated against her because
                 she is African American, correct?
                 A: That’s her claim. That’s what it states, but that’s her claim. I’m not to
                 comment on that.

                     See Exhibit “A” August 8, 2022 Deposition of William Wilcox, Jr 56:2-15

         6.   Wilcox did not hear the alleged racial epithet because Plaintiff was not present and

              the statement was not directed at him. Id at 96:12-20.

         7.   On August 3, 2022, Luchey dismissed her claims against Wolf and the Association

              with prejudice. [D.E. 140].

        8.    Wilcox’s service dog, Zeus, has continuously lived with Wilcox in Unit #303

              during the entire duration of the subject leasehold:

                     Q: Okay. Zeus has been with you since January 2021 at unit 303 at La
                     Pensee Condominium, correct?
                     A: Correct.
                     Q: Okay. You’ve never been without Zeus at unit 303 at La Pensee
                     Condominium?
                     A: Correct.



                                            Page 2 of 5
Case 9:21-cv-81565-DMM Document 156 Entered on FLSD Docket 08/17/2022 Page 3 of 5




                     See Exhibit “A” August 8, 2022 Deposition of William Wilcox at 162:20-
              163:21.

        9.    Zeus is a 70-pound Doberman Pinscher. See Exhibit “C” May 4, 2022 Deposition

              of Megan Luchey 185:7-8.

        10.   Wilcox continues to reside in Unit 303:

                     Q: Can you tell me, what is your current address where you reside?
                     A: Where I reside, 4000 South Ocean Boulevard, Unit 303, South Palm
                     Beach, Florida 33480.

                     See Exhibit “A” August 8, 2022 Deposition of William Wilcox at 23:12-15.

        11.   The state court eviction claim brought by the Association captioned, La Pensee

              Condominium Association, Inc. v. La Pensee 303, LLC, William David Wilcox,

              Mark McFaddon, and Megan Danielle Luchey, bearing Palm Beach County Circuit

              Court Case No.: 50-2021-CA-009343 (the “State Court Action”),               details

              allegations of nuisance and safety and health risks posed by Wilcox to the

              community. See generally Exhibit “D” Second Amended Complaint in the State

              Court Action.

        12.   For example, it states:

                     ILLEGAL OCCUPANT has tormented an entire community for 6 months.
                     ILLEGAL OCCUPANT is aggressive, threatening and harassing to other
                     residents, board members and staff. His conduct interferes with the
                     operations of the condominium. He has chased Board Members on the
                     property, as well as residents. He uses foul language and is abusive to the
                     residents, the Board of Directors, the manager and staff of the Association.
                     He demands items he is not entitled to as a tenant. For example, he
                     demanded that a staff member provide copies of camera video, despite the
                     fact that he is not entitled to it. The staff member felt threatened as
                     ILLEGAL OCCUPANT berated him and threatened him if it was not
                     provided.

                     This is evidenced by the Police Reports attached hereto as Composite
                     Exhibit “H.”



                                         Page 3 of 5
Case 9:21-cv-81565-DMM Document 156 Entered on FLSD Docket 08/17/2022 Page 4 of 5




                             Id at ¶¶ 18, 19.

        13.   The State Court Action is still pending and the Court has not adjudicated any of the

              claims asserted in the case by any of the parties. See the Wilcox State Court docket

              sheet attached hereto as Exhibit “E.”

        14.   On March 31, 2022, someone claiming to be Luchey filed a petition for injunction

              for protection against dating violence against Wilcox (“Dating Violence

              Complaint”). See Exhibit “C” May 4, 2022 Deposition of Megan Luchey 13:11—

              14:4.

        15.   In the Dating Violence Complaint, someone claiming to be Luchey alleged that

              Wilcox broke into her residence via a dog door at 371 Winters Street, West Palm

              Beach, FL 33405. Id.

        16.   Additionally, someone claiming to be Luchey referenced in the Dating Violence

              Complaint references prior abuse in October 2021 and describes that Wilcox abuses

              drugs and alcohol. Id.

        17.   Also, someone claiming to be Luchey referenced in the Dating Violence Complaint

              that Wilcox frequently calls Luchey the “N” word. Id.

        18.   The Dating Violence Complaint was subsequently dismissed by someone claiming

              to be Luchey. Id.




                                          Page 4 of 5
Case 9:21-cv-81565-DMM Document 156 Entered on FLSD Docket 08/17/2022 Page 5 of 5




                                                        Respectfully submitted,

                                                      /s/ Andrew J. Marchese
                                                      ANDREW J. MARCHESE
                                                      Florida Bar Number: 061931
                                                      JOELLE J. VOGEL
                                                      Florida Bar Number: 1002659
                                                      MARSHALL, DENNEHEY, WARNER,
                                                      COLEMAN & GOGGIN
                                                      2400 East Commercial Blvd., Suite 1100
                                                      Fort Lauderdale, FL 33308
                                                      T: (954) 847-4920; F: (954) 627-6640
                                                      ajmarchese@mdwcg.com
                                                      jjvogel@mdwcg.com
                                                      mdlincoff@mdwcg.com


                                    CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that on this August 17, 2022, I e-mailed or mailed the foregoing document
   to all counsel of record or pro se parties of record, either via transmission of Notices of Electronic
   Filing generated by CM/ECF or by U.S. Mail for those counsel or parties who are not authorized
   to receive electronically Notices of Electronic Filing.

                                                                             /s/ Andrew J. Marchese
                                                                            ANDREW J. MARCHESE


   Neil B. Tygar, Esq.                                  Kenneth C. Terrell, Esq.
   Neil Bryan Tygar, P.A.                               The Strategic Legal Group, LLP
   5341 West Atlantic Ave., Suite 303                   150 E. Palmetto Park Road, Suite 800
   Delray Beach, FL 33484                               Boca Raton, FL 33432
   ntygar@me.com; neiltygarlaw@gmail.com                kcterrell@bellsouth.net


   Andrew Kemp-Gerstel, Esq.                            David B. Israel, Esq.
   Michael D. Starks, Esq.                              Eric J. Israel, Esq.
   Liebler, Gonzalez & Portuondo                        Israel & Israel & Associates, P.A.
   44 West Flagler Street                               6099 Stirling Road, Suite 211
   Miami, FL 33130                                      Davie, FL 33314
   akg@lgplaw.com; mkv@lgplaw.com;                      disrael@israellawfl.com;
   mds2@lgplaw.com                                      ejisrael@israellawfl.com;
                                                        israellawfl@gmail.com




                                               Page 5 of 5
